                              UNITED STATES DISTRICT COURT

                              EASTERN DISTRICT OF LOUISIANA

DONNA LOU, ET AL.                             *       CIVIL ACTION NO. 21-80

VERSUS                                        *       SECTION “D” (2)

SHERIFF JOSEPH P, LOPINTO,                    *       Judge Wendy B. Vitter
III, ET AL.                                           Magistrate Judge Donna P. Currault

       Plaintiffs’ Opposition to Westgate Defendants’ Motion for Summary Judgment

       Westgate1 owns a shopping center in Metairie, Louisiana. Westgate paid a 308-pound JPSO

reserve deputy, Chad Pitfield, to work a paid security detail at the shopping center. On January 19,

2020, Pitfield placed Plaintiffs’ minor son E.P. facedown in the shopping center’s parking lot and

sat on his back. Another deputy replaced Pitfield on the minor’s back. Together, they sat on E.P.

for over nine minutes. E.P. stopped breathing. He died.

       In its motion for summary judgment, Westgate argues that it should not be liable for

Pitfield’s actions because Pitfield was an independent contractor, not an employee. R. Doc. 138-2.

Westgate reaches that conclusion after applying a five-factor test for determining whether a worker

is an independent contractor or an employee. Id. at 6 et seq.

       But Plaintiffs do not contend that Westgate is liable for Pitfield because he was a direct

employee of Westgate. They contend that Westgate is liable for Pitfield under the well-established

doctrine of a “borrowed employee.” See R. Doc. 1 at ¶¶ 27, 63 (complaint alleging that Pitfield

was the “borrowed employee” of Westgate). Under that legal doctrine, which has been applied

directly to paid detail officers like Pitfield, a defendant is liable for the actions of its borrowed

employees regardless of whether they are independent contractors or not. See, e.g., Benelli v. City

of New Orleans, 478 So.2d 1370 (La. App. 1985) (“If the officer commits a tort while on a paid


1
 “Westgate” here is used to refer to the Moving Defendants, Victory Real Estate Investments LA, LLC and
Westgate Investors NO, LLC d/b/a Westgate Shopping Center. See R. Doc. 138-2 (Westgate’s Motion for
Summary Judgment).

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detail, the primary employer . . . and the paid detail employer are liable in solido.”) (emphasis

added). That legal doctrine is distinct from the independent contractor/employee analysis, and has

a nine-factor test. Mays v. Dir., 938 F.3d 637 (5th Cir. 2019).

        Thus, regardless of whether Westgate is correct that Pitfield was not Westgate’s direct

employee, this does not entitle Westgate to summary judgment. Westgate makes no argument

whatsoever about whether Pitfield was an employee borrowed from JPSO, which is Plaintiffs’

theory of the case. For that reason, Westgate’s entire motion is non-responsive to the theory of

liability at issue in this case – and should therefore be denied.

        The motion should also be denied because applying the nine borrowed employee factors, a

reasonable jury could find that Pitfield was a borrowed employee of Westgate.

        And Westgate’s motion should be additionally denied because it relies on an “undisputed”

fact that Pitfield’s restraint of E.P. in the prone position was not “a cause-in-fact of E.P.’s injuries.”

But that fact is very much disputed, considering that the Jefferson Parish Coroner’s Office found

that prone positioning was a “contributing cause” of E.P.’s death. Ex. C (Coroner’s Report) at 2.

        For all these reasons, Westgate’s motion should be denied.

                                     I.      LEGAL STANDARD

        “[S]ummary judgment is appropriate ‘if the movant shows that there is no genuine dispute

as to any material fact and the movant is entitled to judgment as a matter of law.’”2 Summary

judgment is only appropriate when the moving party identifies material facts not in dispute, “and the

nonmoving party fails to produce or identify in the record summary judgment evidence sufficient to

sustain a finding in its favor respecting such of those facts as to which it bears the trial burden of




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 Wheat v. Fla. Par. Juvenile Justice Comm'n, 811 F.3d 702, 705 (5th Cir. 2016) (quoting Fed. R. Civ. P.
56(a)).

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proof.”3 This Court will view “the evidence and all justifiable inferences in the light most favorable

to the non-moving party.”4

                                            II.     ANALYSIS

A.        Under the “borrowed employee” doctrine, a business may be liable for the actions of
          a non-employee it borrows from another employer.

          i.      Background of the “borrowed employee” doctrine, and the Fifth Circuit’s ten-part
                  test for whether a person is a borrowed employee.

          In many contexts, like taxes or the Fair Labor Standards Act, the employee/independent

contractor distinction is the core question. But not for liability. Under Fifth Circuit and Louisiana

law, the “borrowed employee” or “borrowed servant” doctrine is the rule that “[o]ne may be in the

general service of another, and, nevertheless, with respect to particular work, may be transferred,

with his own consent or acquiescence, to the service of a third person, so that he becomes the servant

of that person with all the legal consequences of the new relation.” Total Marine Servs., Inc. v.

Director, OWCP, 87 F.3d 774, 777 (5th Cir. 1996) (quoting Standard Oil Co. v. Anderson, 212 U.S.

215, 220, 29 S.Ct. 252, 53 L.Ed. 480 (1909)).

          The borrowed employee analysis is distinct and separate from the employee/independent

contractor analysis. For example, in McLeod v. Moore, 7 So.3d 190, 192-194 (La. App. 2009) the

state Second Circuit analyzed the borrowed employee question and the employee/independent

contractor question in separate sections of an opinion, applying separate factors.

          The Fifth Circuit applies a nine-factor test to determine whether an employee is a borrowed

servant. Mays v. Dir., 938 F.3d 637, 641-642 (5th Cir. 2019). Those nine factors are:

          (1)     Who has control over the employee and the work he is performing, beyond mere
                  suggestion of details or cooperation?

          (2)     Whose work is being performed?

          (3)     Was there an agreement, understanding, or meeting of the minds between the

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    Stearns Airport Equip. Co. v. FMC Corp., 170 F.3d 518, 521 (5th Cir. 1999).
4
    Vercher v. Alexander & Alexander Inc., 379 F.3d 222, 225 (5th Cir. 2004).

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               original and the borrowing employer?

       (4)     Did the employee acquiesce in the new work situation?

       (5)     Did the original employer terminate his relationship with the employee?

       (6)     Who furnished tools and place for performance?

       (7)     Was the new employment over a considerable length of time?

       (8)     Who had the right to discharge the employee?

       (9)     Who had the obligation to pay the employee?

Mays v. Dir., 938 F.3d 637 (5th Cir. 2019), citing Ruiz v. Shell Oil Co., 413 F.2d 310, 312–13 (5th

Cir. 1969). Louisiana state courts also use these nine factors. See Musa v. Litton–Avondale Indus.

Inc., 63 So.3d 243, 246 (La. App. 2011) (listing and applying Ruiz factors).

       ii.     Courts have applied the borrowed employee doctrine to hold businesses liable for
               the security guards and private law enforcement details they hire.

       Over the last four decades, Louisiana courts have repeatedly applied the borrowed employee

doctrine to hold businesses liable for the security they hire – even when those security officers are

independent contractors. For example, in Cappo v. Vinson Guard Service, Inc., 400 So. 2d 1148 (La.

App. 2nd 1981), the Ground Pat'i Restaurant contracted with Vinson Guard Service for a guard to

patrol the parking lot of the restaurant. The guard struck a man, and the man sued both Vinson and

the Ground Pat'i. The restaurant’s defense was that it should not be liable “since the relationship

between Ground Pat'i and Vinson Guard was that of independent contractor and not that of master

and servant.” Id. at 1150. But the court rejected that argument: it applied the borrowed employee

analysis, and held the Ground Pat'i liable. Id.

       In 1984, the Supreme Court of Louisiana made the rule clearer: a “business which undertakes

to hire a security guard to protect itself and its patrons is liable for physical harm which occurs

because of negligence on the part of that guard.” Harris v. Pizza Hut of Louisiana, Inc., 455 So. 2d

1364, 1369 (1984). The court held that “[w]hen a security guard fails to act in accordance with


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established policies and procedures and that negligence is a substantial factor in bringing about

injury to a third party, it can support a jury finding of causation.” Id.

        A year later, the state Fourth Circuit made the rule even clearer in Benelli v. City of New

Orleans, 478 So.2d 1370 (La. App. 4th 1985): if an “officer commits a tort while on a paid detail,

the primary employer (the City of New Orleans) and the paid detail employer are liable in solido.”

Benelli (emphasis added), citing Cappo v. Vinson Guard Service, 400 So.2d 1148 (La. App. 1st

Cir.1981).

        This line of cases was upheld in in 2022 in Bolden v. Tisdale, 347 So.3d 697 (La. 2022). In

that case the question was “whether the Tampa Bay Buccaneers football organization is vicariously

liable, as an employer, for the alleged negligence of an off-duty Jefferson Parish sheriff’s deputy,

who was part of a motorcycle escort for the team’s buses.” Id. at 700. In that case, the Louisiana

Supreme Court concluded that the football team would not be liable for the actions of its motorcycle

escort. But the court explicitly distinguished the escort context from the premises context, and noted

that a company could be held liable for the actions of a paid detail officer working premises security.

The court explained:

        we distinguish the cases relied on by the plaintiffs, since they involved off-duty law
        enforcement officers performing private duty premises security, and premises
        security differs significantly from a motorcade escort in that the private entities
        hiring premises security officers must necessarily have greater control over the
        work performed by the officers given that the private entities in the cited cases had
        custody and control over the premises they were occupying.

Id. at 711 (emphasis in original.) Furthermore, the Court in Bolden cited Blair v. Tynes, 621 So.2d

591 (La. 1993), in which a special detail employer (an American Legion hall) was held to be liable

for the special detail officers. There, the court held:

        The Legion argues that it was not the special employer of the deputies, suggesting
        that the deputies were independent contractors. This contention however overlooks
        David Rester's power to hire and schedule the deputies, his power to decide how
        many deputies should be hired as provided for in the lease agreement, as well as his
        power to assign the deputies to perform particular duties. Clearly, the court of
        appeal erred when it reversed the judgment of the trial court with respect to the

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       liability of the American Legion as we find no manifest error on the part of the trial
       court in concluding that the American Legion was liable for the accident and
       injuries suffered by plaintiffs.

Id.
       The Louisiana Supreme Court in Bolden also noted a series of cases in which businesses

were held liable for the actions of paid detail officers working premises security: Wright v. Skate

Country, Inc., 734 So.2d 874 (La. App. 4 Cir. 1999) (concluding that paid detail “police officers

were employees of [premises owner] Skate Country”), writ denied, 99-2272 (La. 11/5/99), 750 So.2d

194, Duryea v. Handy, 96-1018 (La. App. 4 Cir. 10/3/97), 700 So.2d 1123 (holding premises owner

Gentilly Carnival Club liable for actions of private detail officer), and Kramer v. Continental

Casualty Company, 92-1131 (La. App. 3 Cir. 6/22/94) (court held that for liability purposes, it would

“treat the security guards as the Downtowner's employees”), 641 So.2d 557, writ not considered,

94-2576 (La. 12/19/94), 648 So.2d 399, writs denied, 94-2473, 94-2474, 94-2475 (La. 12/19/94),

648 So.2d 402-03.

       Thus, Westgate is wrong to suggest that its liability can be resolved by only looking to

whether Pitfield was an employee or independent contractor.

B.     Westgate’s motion should be denied because it fails to make any borrowed employee
       argument whatsoever. The motion is therefore non-responsive to the theory of
       liability at issue in this case.

       Plaintiffs’ complaint is explicit in alleging that “Defendant Pitfield was the borrowed

employee of” Westgate. R. Doc. 1 at ¶ 27; see also id. at ¶ 63. The pleadings further show that

Westgate is aware that the “borrowed employee” doctrine is Plaintiffs’ theory of the case against

Westgate. For example, Westgate’s second affirmative defense is that the circumstances “do not

support a claim under a theory of vicarious liability, borrowed employee, or premises liability.” R.

Doc. 10 at 1. And the memorandum in support of Westgate’s motion for summary judgment

specifically notes that “according to Plaintiffs,” Defendant Pitfield “was ‘acting as an agent,

servant, and borrowed employee” of Westgate R. Doc. 138-2 at 2 (emphasis added).


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        This is reflected in JPSO’s policies, which describe paid detail work as “employment” by

a business. Ex. I (JPSO SOP-11 at 1). That policy, which Westgate required Pitfield to follow (Ex.

138-1 at Material Fact No. 11), says that it “is very important for each member working paid details

to clearly understand that private details are ‘private employment.’” Ex. I at 4.

        But strangely, despite acknowledging Plaintiffs’ theory of liability in its memo, Westgate

does not engage in any borrowed servant analysis at all. It only analyzes the Westgate-Pitfield

relationship for whether it was an employment or independent contractor relationship. R. Doc. 138-

2. The two cases that Westgate primarily relies on, Duronslet and Trichell,5 do not address the

borrowed servant doctrine at all – they deal only with the employee/independent contractor issue.

But Plaintiffs have never alleged that Pitfield was an employee of Westgate. As a result, Westgate’s

motion is not responsive to the theory of liability articulated by Plaintiffs’ complaint.

        Furthermore, Duronslet and Trichell are distinguishable from the facts here. In Duronselet,

the relevant parties signed a contract specifying that neither the company providing special detail

officers to Walmart “nor any of its employees or agents may be considered [Walmart]'s agents or

employees for any purpose and have no authority to act or purport to act on [Walmart]'s behalf.”

Duronslet, supra, at 1142. There is no such contractual term here.

        Trichell dealt with a “courtesy officer” who lived at an apartment complex and was

provided with a monthly rent credit in exchange for being on-call generally and checking on the

property “on a random basis.” Trichell, supra, at 861. The courtesy officer in Trichell did not

declare the rent credit as income, nor did he inform his police department about the arrangement.

Id. That is very different than the Westgate-Pitfield relationship, in which Westgate paid Pitfield

directly by the hour, with the knowledge and consent of JPSO.

        Thus, because Westgate’s motion does not engage with the theory of liability at issue in the


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 Duronslet v. Wal-Mart Stores, Inc., 2022-0019 (La. App. 4 Cir. 7/27/22), 345 So.3d 1136; Trichell v.
McClure, 2021-1240 (La. App. 1 Cir. 4/8/22), 341 So.3d 856.

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case, and because Westgate’s own cases are distinguishable, Westgate’s motion should be denied.

C.     Westgate’s motion should be denied because a reasonable jury could find that Pitfield
       was a borrowed employee of Westgate.
       Because Westgate’s motion does not engage in any borrowed-employee analysis, it is not

strictly necessary for Plaintiffs to conduct that analysis to defeat summary judgment. But it may

be helpful to the Court to briefly note that the large majority of the nine borrowed-employee factors

weigh in favor of finding that Pitfield was a borrowed employee of Westgate. This suggests that a

reasonable jury could conclude that Pitfield was the borrowed employee of Westgate. The factors

are as follows:

       (1)        Who has control over the employee and the work he is performing, beyond mere
                  suggestion of details or cooperation?

       This factor is mixed. According to Westgate’s 30(b)(6) representative, Westgate could pick

the times and location of work for Pitfield. Ex. A (Westgate 30(b)(6) dep.) at 25:7-10 (“Q. All right.

Now, so you had the right to select the times and to confine the location to the Westgate Mall,

correct? A. Correct.”); Ex. E (Canatella Dep.) at 14:20-21 (Westgate tells us what hours they want

us to work.”) But Westgate did not specifically set policies for Pitfield’s work, other than adopting

JPSO’s policies. Id. at 25.

       (2)        Whose work is being performed?

       This factor weighs in favor of Pitfield as a borrowed employee. According to Westgate’s

30(b)(6) representative, the private detail work was “for the benefit of Westgate, Victory, and the

tenants” of the mall. Ex. A at 34:3-9. Officers like Pitfield “weren't to do other work for other people”

while on shift at the Westgate mall. Id. at 20:13-16. According to Pitfield, his role was “patrolling

the Westgate Shopping Center.” Ex. B at 95:19-20. He agreed that when he was on a Westgate shift,

he was “working during those hours for Westgate.” Id. at 99:11-12. See also Ex. E (Canatella Dep.)

at 27:18-28:2 (“So you are working for money, for Westgate, on their property to enforce the laws

and to make sure there is not crime occurring on the Westgate or Victory premises, correct? . . .

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Yes.”)

         (3)    Was there an agreement, understanding, or meeting of the minds between the
                original and the borrowing employer?

         This factor weighs in favor of Pitfield as a borrowed employee. According to Westgate’s

30(b)(6) representative, when Westgate bought the shopping center, it reached agreement with the

special detail coordinator to have JPSO deputies provide security. Ex. A (Westgate 30(b)(6) dep.) at

17:23-18:15. The representative specifically testified that there was “an agreement or understanding

between the Victory and Westgate and Mr. Canatella about what was to be done”. Id. at 36:7-16. Cf.

Musa v. Litton–avondale Indus. Inc., 63 So.3d 243, 247 (La. App. 2011) (“a formal agreement

between the two employers is not considered indispensable”).

         (4)    Did the employee acquiesce in the new work situation?

         This factor weighs in favor of Pitfield as a borrowed employee. Pitfield chose to do private

detail work like at Westgate. Ex. B at 27:9-121. He could accept the work if he was interested or

not. Id. at 35:5-7.

         (5)    Did the original employer terminate his relationship with the employee?

         This factor weighs in favor of Pitfield as a borrowed employee. Pitfield remained as a reserve

deputy for JPSO when he did private detail work for Westgate and, thus, Westgate simply borrowed

Pitfield from JPSO to allow a uniformed officer to provide a police presence of the property to

provide security for Westgate. See Ex. B at 24:10-16.

         (6)    Who furnished tools and place for performance?

         This factor is mixed. Westgate provided the place for performance and a cell phone. Ex. A

at 25:20-25. JPSO provided the uniform, gun, and vehicle.

         (7)    Was the new employment over a considerable length of time?

         This factor weighs in favor of Pitfield as a borrowed employee. Pitfield worked a special

detail at Westgate for approximately four years. Ex. B at 100:18 to 101:4. Cf. Mays v. Dir., 938 F.3d


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637, 646 (5th Cir. 2019) (a 30 or 90 day period was neutral; a seven year period weighed in favor of

borrowed servant status).

       (8)     Who had the right to discharge the employee?

       This factor weighs in favor of Pitfield as a borrowed employee. Westgate’s 30(b)(6)

representative confirmed that Westgate had the power to “discharge” Pitfield. Ex. A at 33 (“Q. You

had the power to discharge Pitfield if you wanted to, correct? . . . THE WITNESS: Yes.”); see also

Ex. A at 32:20-24 (“Q. Okay. What I'm saying is, if there's something that they're doing that you

don't think is correct, you can have them removed? A. Yes.”). Pitfield agreed. Ex. B at 100:6-8 (“Q

If Westgate had wanted someone other than Chad Pitfield, could they have told that to the special

detail scheduler? A Absolutely. Q And they would have gotten someone other than Chad Pitfield?

A Sure.”) Cf. Mays, supra, at 646 (this factor asks whether the borrowing employer could remove

the borrowed employee from their premises).

       (9)     Who had the obligation to pay the employee?

       This factor weighs in favor of Pitfield as a borrowed employee. Pitfield was paid by check

directly from Westgate to him. Ex. B at 38:4-8 (“Q So you would receive a check periodically from

Westgate directly to you for whatever number of hours times your hourly rate? A Correct”). Cf.

Mays, supra, at 646 (analyzing this factor in terms of whether employee paid directly and whether

by hours).

       Because almost all of the factors weigh in favor of Pitfield being a borrowed employee of

Westgate, a reasonable jury could reach that conclusion. And so the motion should be denied.




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D.        Westgate’s motion should be denied because it relies on disputed facts – particularly
          Westgate’s idea that Pitfield did not injure E.P.

          In order to prevail on summary judgment, the moving party must “demonstrate the absence

of any genuine issue of material fact.”6

          Here, Westgate has failed to demonstrate the absence of any genuine issue of material fact.

Westgate relies on several material facts which Plaintiff has evidence to dispute, including facts

about the instructions Westgate gave to private detail officers (Material Facts No. 7, 8, and 12), about

whether E.P. was calm the entire time Pitfield restrained him (Material Fact No. 18), and about

whether there was any indication that “E.P. was having respiratory issues before Defendant Pitfield

was replaced” (Material Fact No. 21).

          Furthermore, Westgate’s memorandum argues that “it is undisputed that the private security

detail’s actions were not a cause-in-fact of E.P.’s injuries.” R. Doc. 138-2 at 11. Westgate supports

that idea with deposition testimony from Plaintiffs that Pitfield did not use a chokehold on E.P. and

that E.P. was calm while Pitfield was on top of him. Id. at 13. Westgate concludes that “Defendant

Pitfield did not have E.P. in a chokehold, and that E.P. was calm – thus unharmed – at the time that

Defendant Pitfield ceased to be involved.” Id.

          But Westgate provides no citation to authority – or even common sense – for the premise

that someone is calm, they must necessarily be unharmed. And in its Answer, Westgate denied that

E.P. was calm when Pitfield was on top of him. Compare R. Doc. 1 at ¶ 168 (“In the moments before

Vega switched places with Pitfield, E.P. was ‘calm’ and ‘everything was fine.’”) with R. Doc. 10 at

pg. 3 (denying paragraph 168).

          More importantly, Plaintiffs are not suing Westgate because Pitfield used a chokehold. They

are suing because the 308-pound Pitfield placed E.P. facedown, in a prone position, and sat on top

of him. See R. Doc. 1 (Complaint) at ¶ 76 (“Pitfield remained seated on E.P.’s back, with E.P. in a


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    Celotex Corp. v. Catrett, 106 S.Ct. 2548, 2552 (1986).

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prone position, face down on the hard surface of the parking lot, for approximately seven minutes,

from 1:29:15 p.m. to approximately 1:36:02 p.m.”)

       The coroner concluded that “Prone Positioning” – which Pitfield implemented – was a

contributing factor in E.P.’s death. Ex. C (Coroner’s Report) at 2. At deposition, Dr. Dana Troxclair

of the Jefferson Parish Coroner’s Office was asked “had they not had him in the prone position,

you’re your opinion that he wouldn't have died?” Dr. Troxclair responded “Most likely not, correct.”

Ex. H (Troxclair Dep.) at 58:2-5; see also id. at 64:24-65:2 (“Q. So getting back to where the rubber

meets the road, without the prone restraint, he wouldn't die that day? A. Most likely not, yes.”)

       And the problems with that positioning presented themselves while Pitfield was still

restraining E.P. Plaintiffs’ expert Dr. Kris Sperry will testify that E.P. showed “evidence of oxygen

deficiency” while Pitfield was on top of him. Ex. F at 4. (Indeed, E.P.’s calmness was a sign of

oxygen deficiency – not proof of the absence of injury like Westgate implies.) Pitfield’s period of

pressure on E.P.’s back is part of what Dr. Sperry concludes “culminated in the evolution of a lethal

cardiac arrhythmia, which was fatal.” Id. at 11. Plaintiffs’ expert Jeff Noble will similarly opine that

E.P.’s movements while Pitfield was on him were “likely being done to help the subject to breathe.”

See Ex. G at ¶ 61(d).

       Thus, it is far from “undisputed” that Pitfield caused E.P. no injury. Pitfield’s actions were a

contributing cause in E.P.’s death. Both the Jefferson Parish Coroner and Plaintiffs’ expert reach

that conclusion. Just because Pitfield was not on top of E.P. at the exact moment of E.P.’s death does

not mean he did not contribute to the death. Westgate’s motion should be denied.

                                       III.    CONCLUSION

       Plaintiffs ask that this Court deny Westgate’s motion for summary judgment.




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RESPECTFULLY SUBMITTED,

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